 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

        Eastern District Of Michigan
     ______________

     Case number (If known): 20-
                             _________________________ Chapter you are filing under:
                                                          
                                                          X   Chapter 7
                                                             Chapter 11
                                                             Chapter 12
                                                             Chapter 13                                           Check if this is an
                                                                                                                      amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                  12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                      About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Raymond
                                        __________________________________________________   Dana
                                                                                             __________________________________________________
                                        First name                                           First name
       identification (for example,
       your driver’s license or         __________________________________________________   __________________________________________________
       passport).                       Middle name                                          Middle name

       Bring your picture               Gasiewicz
                                        __________________________________________________   Gasiewicz
                                                                                             __________________________________________________
       identification to your meeting   Last name                                            Last name
       with the trustee.                ___________________________                          ___________________________
                                        Suffix (Sr., Jr., II, III)                           Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________   __________________________________________________
      have used in the last 8           First name                                           First name
      years
                                        __________________________________________________   __________________________________________________
       Include your married or          Middle name                                          Middle name
       maiden names.                    __________________________________________________   __________________________________________________
                                        Last name                                            Last name

                                        __________________________________________________   __________________________________________________
                                        First name                                           First name

                                        __________________________________________________   __________________________________________________
                                        Middle name                                          Middle name
                                        __________________________________________________   __________________________________________________
                                        Last name                                            Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       9 ____
                                                           5 ____
                                                               2 ____
                                                                  8                          xxx    – xx – ____
                                                                                                            7 ____
                                                                                                                8 ____
                                                                                                                   3 ____
                                                                                                                       0
      number or federal                 OR                                                   OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                      9 xx – xx – ____ ____ ____ ____
      (ITIN)

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Debtor 1        Raymond Gasiewicz
                _______________________________________________________                                                  20-
                                                                                                   Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                
                                                                                                        X I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           205 W Genesee
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Durand                          MI      48429
                                           _________________________________________________                                           MI
                                                                                                        _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           SHIAWASSEE
                                           _________________________________________________            ST. CLAIR
                                                                                                        _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,        
                                                                                                        X Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



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Debtor 1        Raymond Gasiewicz
                _______________________________________________________                                                  20-
                                                                                                   Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                           
                                           X I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                           
                                           X Yes.    Has your landlord obtained an eviction judgment against you?

                                                     
                                                     X   No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




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                _______________________________________________________                                    Case number (if known)20-
                                                                                                                                 _____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


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                _______________________________________________________                                                         20-
                                                                                                          Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                    
                                                                                                                X I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1       Raymond   Gasiewicz
               _______________________________________________________                                                        20-
                                                                                                        Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       
                                         X No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities            
                                           X $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /s/ Raymond Gasiewicz
                                              ______________________________________________               _____________________________
                                                                                                            /s/ Dana Gasiewicz
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          02/19/2020
                                              Executed on _________________                                                02/19/2020
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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             _______________________________________________________                               Case number (if known)20-
                                                                                                                         _____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s/_________________________________
                                              Mark Van Epps                                                 Date           _________________
                                                                                                                           02/19/2020
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Mark Van Epps
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Van Epps & Van Epps
                                           _________________________________________________________________________________________________
                                           Firm name

                                           318 N Water
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Owosso
                                           ______________________________________________________ MI
                                                                                                  ____________ 48867
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (989) 723-6777
                                           Contact phone _____________________________________             Email address   mvanepps@vaneppslaw.com
                                                                                                                           ______________________________




                                           P33068                                                 MI
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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 Fill in this information to identify your case:

 Debtor 1          Raymond    Gasiewicz
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            Dana  Gasiewicz
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the: Eastern District of Michigan
                                         ______________________________________

 Case number         20-
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 7,389.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 7,389.00
                                                                                                                                                                            ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 0.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +   $ 51,269.86
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 51,269.86
                                                                                                                                                                            ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 4,807.44
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                    $ 4,783.00
                                                                                                                                                                            ________________




                  20-30417-jda
Official Form 106Sum
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                                                 Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Debtor 1         Raymond Gasiewicz
                 _______________________________________________________                                                 20-
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X Yes

7. What kind of debt do you have?

    
    X Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ 6,491.67
                                                                                                                                         _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            4,201.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                     4,201.00
                                                                                                           $_____________________




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    Official Form 106Sum
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                                               Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Fill in this information to identify your case and this filing:


Debtor 1          Raymond                                      Gasiewicz
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2           Dana                                       Gasiewicz
                   ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Eastern District of Michigan
United States Bankruptcy Court for the: ______________________________________

Case number        20-
                   ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    X    No. Go to Part 2.
        Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                         $________________        $_______________
                                                                     Investment property
             _________________________________________
             City                    State   ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________

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   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
Debtor 1       Raymond                       Gasiewicz
               _______________________________________________________                                                       20-
                                                                                                       Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




                                                                  What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                     Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description          Duplex or multi-unit building
                                                                     Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                  Manufactured or mobile home
                                                                     Land                                                $________________         $_________________

           ________________________________________
                                                                     Investment property
           City                    State   ZIP Code                  Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                  Who has an interest in the property? Check one.
           ________________________________________               
                                                                   Debtor 1 only
           County
                                                                  
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                  
                                                                   At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Dodge
                                      ______________              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Durango
                                      ______________
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2004
                                                                  Debtor 2 only
           Year:                      ____________
                                                                  
                                                                  X Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                      250000                                                                              entire property?          portion you own?
           Approximate mileage:       ____________                At least one of the debtors and another
           Other information:
                                                                   Check if this is community property (see               800.00
                                                                                                                          $________________          800.00
                                                                                                                                                    $________________
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                      ______________              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                  
                                                                   Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  
                                                                   Debtor 2 only
           Year:                      ____________
                                                                  
                                                                   Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                      
                                                                   At least one of the debtors and another
           Other information:
                                                                   Check if this is community property (see              $________________         $________________
                                                                      instructions)




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Official Form 106A/B                                              Schedule A/B: Property                                                                   page 2
Debtor 1           Raymond                       Gasiewicz
                   _______________________________________________________                                                                             20-
                                                                                                                                 Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       800.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




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Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
Debtor 1            Raymond                       Gasiewicz
                    _______________________________________________________                                                                                         20-
                                                                                                                                              Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          Household goods                                                                                                                                             2,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... Electronics such as Cellphones, Computers                                                                                                                           200.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........clothing                                                                                                                                                            200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........
                                 Ring                                                                                                                                                                500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
   
   X                             3 Dogs
        Yes. Describe. ............                                                                                                                                                                  0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       2,900.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


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Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
Debtor 1            Raymond                       Gasiewicz
                    _______________________________________________________                                                                                                          20-
                                                                                                                                                               Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     10.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             5/3 Bank
                                                                                                 _________________________________________________________                                                             300.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




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Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
Debtor 1           Raymond                       Gasiewicz
                   _______________________________________________________                                  Case number (if known)20-
                                                                                                                                  _____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________                 $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________
                                         ______________________________________________________________________________________
                                                                                                                                                $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
   
   X   Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   State of Michigan
                                                                   ___________________________________________________________________           1,191.00
                                                                                                                                                $__________________

                                         Pension plan:             ___________________________________________________________________          $__________________

                                         IRA:                      ___________________________________________________________________          $__________________

                                         Retirement account:       ___________________________________________________________________          $__________________

                                         Keogh:                    ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________

                                         Additional account:       ___________________________________________________________________          $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________           $___________________
                                         Gas:                  ______________________________________________________________________           $___________________
                                         Heating oil:          ______________________________________________________________________           $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                                $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                                $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                                $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                                $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                                $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                                $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________               $__________________
                                         _______________________________________________________________________________________                $__________________
                                         _______________________________________________________________________________________                $__________________

                 20-30417-jda                          Doc 1       Filed 02/19/20                Entered 02/19/20 16:43:59           Page 15 of 70
Official Form 106A/B                                                        Schedule A/B: Property                                                          page 6
Debtor 1           Raymond                       Gasiewicz
                   _______________________________________________________                                     Case number (if known)20-
                                                                                                                                     _____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

      No
   
   X   Yes. Give specific information                         tax refunds for this calendar year; state pro rata tax          Federal:               300.00
                                                                                                                                                    $_________________
            about them, including whether                     refund for income
            you already filed the returns                                                                                     State:                 100.00
                                                                                                                                                    $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________


                 20-30417-jda                           Doc 1     Filed 02/19/20            Entered 02/19/20 16:43:59                     Page 16 of 70
Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
Debtor 1            Raymond                       Gasiewicz
                    _______________________________________________________                                                                   Case number (if known)20-
                                                                                                                                                                    _____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       1,901.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


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Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
Debtor 1            Raymond                       Gasiewicz
                    _______________________________________________________                                                                   Case number (if known)20-
                                                                                                                                                                    _____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________


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Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
 Debtor 1              Raymond                       Gasiewicz
                       _______________________________________________________                                                                        Case number (if known)20-
                                                                                                                                                                            _____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No                                Garnishment                                                                                                                                                          1,788.00
                                                                                                                                                                                                                 $________________
     
     X     Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                           1,788.00
                                                                                                                                                                                                                  $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      0.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    800.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               2,900.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           1,901.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    1,788.00

62. Total personal property. Add lines 56 through 61. ...................                                             7,389.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  7,389.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        7,389.00
                                                                                                                                                                                                                $_________________


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 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
 Fill in this information to identify your case:

 Debtor 1          Raymond   Gasiewicz
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern District of Michigan
                                         _____________________________________________
                                          __________  District of __________

 Case number
  (If known)
                     20-
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   household goods                                                                                          11 USC § 522(d)(3)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           2,000.00
                                                          $________________            
                                                                                       X $ 1,000.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 6                                                                     any applicable statutory limit
                    ______                                                                                                  ____________________________

                   checking account                                                                                         11 USC § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           300.00
                                                          $________________               300.00
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 17.1
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   ferderal pro rata tax refund for                                                                         11 USC § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: income
                                                           300.00
                                                          $________________            
                                                                                       X $ 150.00
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    28                                                                    any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes


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Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
Debtor 1     Raymond   Gasiewicz
             _______________________________________________________                                                      20-
                                                                                                    Case number (if known)_____________________________________
             First Name       Middle Name           Last Name




 Part 2:    Additional Page

      Brief description of the property and line            Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property              portion you own
                                                            Copy the value from     Check only one box for each exemption
                                                            Schedule A/B

     Brief        state pro rata tax refund for                                                                         11 USC § 522(d)(5)
                                                                                                                        ____________________________
     description: income
                  _________________________
                                                             100.00
                                                            $________________           50.00
                                                                                     X $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: 28
                   ______                                                               any applicable statutory limit ____________________________

     Brief        2004 Durango                                                                                            11 U.S.C. § 522(d)(2)
                                                                                                                          ____________________________
     description: _________________________                  800.00
                                                            $________________        
                                                                                     X $ ____________
                                                                                         400.00
                                                                                                                          ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          3.1
                          ______                                                                                          ____________________________

     Brief        Garnishment                                                                                             11 U.S.C. § 522(d)(5)
                                                                                                                          ____________________________
     description: _________________________
                                                             1,788.00
                                                            $________________           1,788.00
                                                                                     X $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: 53                                                                   any applicable statutory limit    ____________________________
                   ______

     Brief                                                                                                              ____________________________
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

                                                                                                                        ____________________________
     Brief
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

                                                                                                                        ____________________________
     Brief
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description:                                           $________________         $ ____________                     ____________________________
                    _________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

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Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                               2 of __
                                                                                                                                               page ___   2
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2           Dana  Gasiewicz
                    ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Eastern District of Michigan
                                         _____________________________________________
                                          __________  District of __________

 Case number
  (If known)
                     20-
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

                   household goods                                                                                          11 USC § 522(d)(3)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                                                           2,000.00
                                                          $________________            
                                                                                       X $ 1,000.00
                                                                                           ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 6                                                                     any applicable statutory limit
                    ______                                                                                                  ____________________________

                   ferderal pro rata tax refund for                                                                         11 USC § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: _________________________
                   income
                                                           300.00
                                                          $________________               150.00
                                                                                       X $ ____________                     ____________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: 28
                    ______                                                                any applicable statutory limit
                                                                                                                            ____________________________
                   state pro rata tax refund for                                                                            11 USC § 522(d)(5)
                                                                                                                            ____________________________
      Brief
      description: income
                                                           100.00
                                                          $________________            
                                                                                       X $ 50.00
                                                                                           ____________                     ____________________________
                       _________________________
      Line from                                                                         100% of fair market value, up to   ____________________________
      Schedule A/B: ______
                    28                                                                    any applicable statutory limit
                                                                                                                            ____________________________

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes


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Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        2
                                                                                                                                                   page 1 of __
Debtor 1     Dana  Gasiewicz
             _______________________________________________________                                                      20-
                                                                                                    Case number (if known)_____________________________________
             First Name       Middle Name           Last Name




 Part 2:    Additional Page

      Brief description of the property and line            Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property              portion you own
                                                            Copy the value from     Check only one box for each exemption
                                                            Schedule A/B

     Brief        Jewelry                                                                                               11 USC § 522(d)(1)
                                                                                                                        ____________________________
     description: _________________________                  500.00
                                                            $________________           500.00
                                                                                     X $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: 12
                   ______                                                               any applicable statutory limit ____________________________

     Brief        401 K Wife                                                                                              11 U.S.C. § 522(b)(3)(C), 11 U.S.C. §
                                                                                                                          ____________________________
     description: _________________________                  1,191.00
                                                            $________________        
                                                                                     X $ ____________
                                                                                         1,191.00                         522(d)(12)
                                                                                                                          ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          21
                          ______                                                                                          ____________________________

     Brief        2004 Durango                                                                                            11 U.S.C. § 522(d)(2)
                                                                                                                          ____________________________
     description: _________________________
                                                             800.00
                                                            $________________           400.00
                                                                                     X $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: 3.1                                                                  any applicable statutory limit    ____________________________
                   ______

     Brief                                                                                                              ____________________________
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

                                                                                                                        ____________________________
     Brief
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

                                                                                                                        ____________________________
     Brief
     description: _________________________                 $________________         $ ____________                   ____________________________
     Line from                                                                        100% of fair market value, up to ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit ____________________________

     Brief                                                                                                                ____________________________
     description: _________________________                 $________________         $ ____________                     ____________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B:                                                                      any applicable statutory limit
                          ______                                                                                          ____________________________

     Brief                                                                                                                ____________________________
     description:                                           $________________         $ ____________                     ____________________________
                    _________________________
     Line from                                                                        100% of fair market value, up to   ____________________________
     Schedule A/B: ______                                                               any applicable statutory limit    ____________________________

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Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                               2 of __
                                                                                                                                               page ___   2
Fill in this information to identify your case:

Debtor 1          Raymond   Gasiewicz
                  __________________________________________________________________
                    First Name                  Middle Name                      Last Name

Debtor 2            Dana  Gasiewicz
                    ________________________________________________________________
(Spouse, if filing) First Name                  Middle Name                      Last Name


United States Bankruptcy Court for the: Eastern District of Michigan
                                        ______________________________________

Case number         20-
                    ___________________________________________
(If known)                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      X      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                             Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                      Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                  Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                           value of collateral.   claim                 If any

2.1                                                           Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                        Last 4 digits of account number ___ ___ ___ ___
2.2                                                           Describe the property that secures the claim:                  $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                              As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                 Contingent
      ______________________________________                     Unliquidated
      City                          State   ZIP Code             Disputed
   Who owes the debt? Check one.                              Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                            car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                 Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                        Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                  0.00
                                                                                                                             $_________________
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  Official Form 106D                             Schedule D: Creditors Who Have Claims Secured by Property                                                                 1
                                                                                                                                                                page 1 of ___
 Fill in this information to identify your case:

 Debtor 1             Raymond                                     Gasiewicz
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              Dana                                        Gasiewicz
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


 United States Bankruptcy Court for the: Eastern District of Michigan
                                         ______________________________________

                       20-
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes
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Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     14
                                                                                                                                                          page 1 of ___
Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                   20-
                                                                                                        Case number (if known)_____________________________________
                    First Name       Middle Name            Last Name


  Part 2:          List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X Yes
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.1
       Account Adjustment Bureau
       _____________________________________________________________                                                  8 ___
                                                                                     Last 4 digits of account number ___ 7 ___ ___
       Nonpriority Creditor’s Name                                                                                                                           3,171.00
                                                                                                                                                            $__________________
                                                                                    When was the debt incurred?           2020
                                                                                                                          ____________
       217 Ann Arbor Rd Ste 212
       _____________________________________________________________
       Number              Street

       Plymouth                       MI      48170
       _____________________________________________________________
       City                                                State        ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated
       
       X      Debtor 1 only                                                            Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                            Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                  Student loans

             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
       
       X      No                                                                    
                                                                                    X   Other. Specify Collection re Sun Home Service
                                                                                                       ______________________________________
             Yes

4.2                                                                                                                  0 ___
                                                                                    Last 4 digits of account number ___ 7 ___ ___                            346.00
                                                                                                                                                            $__________________
       ARS Account Resolution
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                  When was the debt incurred?           2020
                                                                                                                          ____________
       1643 Harrison Parkway Suite 100
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Sunrise                        FL      33323
       _____________________________________________________________
       City                                                State        ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated

             Debtor 1 only
                                                                                       Disputed

       
       X      Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                  Student loans
                                                                                       Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                               that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts

       
       X      No                                                                    
                                                                                    X   Other. Specify Collection re: Emerg Prof
                                                                                                       ______________________________________

             Yes

4.3
       ARS National Services, Inc
       _____________________________________________________________                                                 2 ___
                                                                                    Last 4 digits of account number ___ 4 ___ ___
       Nonpriority Creditor’s Name
                                                                                                                                                             721.00
                                                                                                                                                            $_________________
                                                                                    When was the debt incurred?           2020
                                                                                                                          ____________
       PO 463023
       _____________________________________________________________
       Number              Street

       Escondido                      CA      92046-0765
       _____________________________________________________________                As of the date you file, the claim is: Check all that apply.
       City                                                State        ZIP Code

                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                       Unliquidated
       
       X      Debtor 1 only
                                                                                       Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                       Student loans
             Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
       Is the claim subject to offset?
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       
       X      No
                                                                                    
                                                                                    X   Other. Specify Collection re Emerg Prof
                                                                                                       ______________________________________
             Yes


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  Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                        2 of ___
                                                                                                                                                                 page __   14
Debtor 1           Raymond                              Gasiewicz
                   _______________________________________________________                                                  20-
                                                                                                      Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                                                 0 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          1 ___
                                                                                                                             0
      Binson's Home Health Care Centers
      _____________________________________________________________                                                                                         54.45
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      26834 Lawrence
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Center Line                    MI      48015
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Medical Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.5
                                                                                                                    0 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          1 ___
                                                                                                                             8                              4,219.38
                                                                                                                                                           $____________
      Bright Lending
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      PO 578
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Hayes                          MD      59527
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Personal Loan
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                         226.35
                                                                                                                                                           $____________
                                                                                                                    4 ___
                                                                                   Last 4 digits of account number ___ 2 ___
                                                                                                                          4 ___
                                                                                                                             9
      Care Payment
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      PO Box 2398
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Omaha                          NE          68103
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Medical Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



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  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    3 of ___
                                                                                                                                                           page __   14
Debtor 1           Raymond                              Gasiewicz
                   _______________________________________________________                                                  20-
                                                                                                      Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                                                 2 ___
                                                                                   Last 4 digits of account number ___ 1 ___ ___
      CNAC MI 112
      _____________________________________________________________                                                                                         1,286.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      5050 S Saginaw Rd
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Flint                          MI      48507
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 charge Off: Auto Loan
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



4.8
                                                                                                                    8 ___
                                                                                   Last 4 digits of account number ___ 9 ___
                                                                                                                          4 ___
                                                                                                                             8                              409.42
                                                                                                                                                           $____________
      Consumers Energy
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      PO 740309
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Cincinnati                     OH      45274
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Utilities
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                         106.00
                                                                                                                                                           $____________
                                                                                                                    5 ___
                                                                                   Last 4 digits of account number ___ 6 ___
                                                                                                                          8 ___
                                                                                                                             9
      Credit Collection Services
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          2020
                                                                                                                        ____________
      PO Box 710
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Norwood                        MA          02062
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
      
      X      Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                 Collection re Quest Diag
                                                                                       Other. Specify________________________________
      
      X      No
            Yes



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  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
                                                                                                                                                           page __   14
Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                Last 4 digits of account number ___ ___ ___ ___
       Dort Federal CU
       _____________________________________________________________                                                                                         755.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2845 Davison Road
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          CO      48506
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Charge Off:
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.11
                                                                                                                     9 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           6 ___
                                                                                                                              6                              767.00
                                                                                                                                                            $____________
       Dort Federal CU
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2845 Davison Road
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI      48506
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Charge Off
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                         102.00
                                                                                                                                                            $____________
                                                                                                                     9 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           6 ___
                                                                                                                              4
       Dort Federal CU
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2845 Davison Road
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI          48506
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 charge off
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    5 of ___
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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.13                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           0 ___
                                                                                                                              1
       Elga Credit Union
       _____________________________________________________________                                                                                         5,148.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       610 S. Dort Union
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI      48503
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 charge off Auto Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.14
                                                                                                                     2 ___
                                                                                    Last 4 digits of account number ___ 4 ___ ___                            72.00
                                                                                                                                                            $____________
       First Federal Credit Control
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2470 Chagrin Blvd Ste 205
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Beachwood                      OH      44122-5630
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collections re Family Dental Care
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                         172.00
                                                                                                                                                            $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       Frontier Communications
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       1500 MacCorkle Ave SE
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Charleston                     WV          25396-0001
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Charge Off
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.16                                                                                                                 1 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           6 ___
                                                                                                                              0
       Great Lakes Bay Health Centers
       _____________________________________________________________                                                                                         386.28
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       501 Lapeer
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Saginaw                        See     48607
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.17
                                                                                                                     5 ___
                                                                                    Last 4 digits of account number ___ 3 ___
                                                                                                                           9 ___
                                                                                                                              9                              18,375.00
                                                                                                                                                            $____________
       Harley Davidson Financial
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       222 W aDams Suite 2000
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Chicago                        IL      60606
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Charge Off
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                         25.00
                                                                                                                                                            $____________
                                                                                                                     3 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           0 ___
                                                                                                                              9
       Hurley Meidcal Center
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       1 Hurley Plaza
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI          48503
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.19                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           0 ___
                                                                                                                              1
       Jefferson Capital Systems LLC
       _____________________________________________________________                                                                                         1,201.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       16 McLeland Rd
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       St Cloud                       MN      56303
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 collection re Verizon
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.20
                                                                                                                     9 ___
                                                                                    Last 4 digits of account number ___ 6 ___
                                                                                                                           3 ___
                                                                                                                              2                              462.78
                                                                                                                                                            $____________
       Keystone Law LLC
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2006 Swede Rd. Suite 100
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       E Norriton                     PA      19401
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 collection re Neuro Pain Consultants
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                         433.00
                                                                                                                                                            $____________
                                                                                                                     3 ___
                                                                                    Last 4 digits of account number ___ 4 ___
                                                                                                                           5 ___
                                                                                                                              6
       Merchants  & Medical
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       6324 Taylor
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI          48507
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re: Great Lakes Bay H
                                                                                        Other. Specify________________________________          C
       
       X      No
             Yes



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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.22                                                                                                                 7 ___
                                                                                    Last 4 digits of account number ___ 6 ___
                                                                                                                           7 ___
                                                                                                                              3
       Online Information Services
       _____________________________________________________________                                                                                         2,100.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       685 W. Fire Tower Rd
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Winterville                    NC      28590
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 collection re Consumer's Energy
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.23
                                                                                                                     1 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           3 ___
                                                                                                                              b                              4,316.87
                                                                                                                                                            $____________
       Personify Financial
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO Box 500650
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       San Diego                      CA      92150
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Personal Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.24                                                                                                                                                         19.33
                                                                                                                                                            $____________
                                                                                                                     5 ___
                                                                                    Last 4 digits of account number ___ 6 ___
                                                                                                                           5 ___
                                                                                                                              0
       Pineknob  Urgent Care
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       5065 Miller Rd Ste 3
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI          48507
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       
       X      Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.25                                                                                                                 7 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           4 ___
                                                                                                                              0
       Premier Medical Clinics
       _____________________________________________________________                                                                                         40.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO Box 320070
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI      48532
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.26
                                                                                                                     0 ___
                                                                                    Last 4 digits of account number ___ 1 ___
                                                                                                                           6 ___
                                                                                                                              0                              94.00
                                                                                                                                                            $____________
       Professional Debt Mediation
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       7948 Baymeadows Way 2nd Floor
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Jacksonville                   FL      32207
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re Delta Family Clinic
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.27                                                                                                                                                         221.00
                                                                                                                                                            $____________
                                                                                                                     1 ___
                                                                                    Last 4 digits of account number ___ 7 ___
                                                                                                                           5 ___
                                                                                                                              8
       RMP
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       8155 Executive Ct Ste 10
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Lansing                        MI          48917
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re: ECS of Central Michigan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.28                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           3 ___
                                                                                                                              8
       Russell Collection Agency
       _____________________________________________________________                                                                                         101.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO 7009
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI      48507-0009
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re Genesee Urgent Care
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.29
                                                                                                                     0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           3 ___
                                                                                                                              7                              150.00
                                                                                                                                                            $____________
       Russell Collection Agency
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO 7009
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI      48507-0009
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.30                                                                                                                                                         128.00
                                                                                                                                                            $____________
                                                                                                                     0 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           0 ___
                                                                                                                              4
       Russell Collection Agency
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO 7009
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Flint                          MI          48507-0009
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re: Genesee Urgent Care
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 11    14
                                                                                                                                                                 __ of ___
Debtor 1            Raymond                              Gasiewicz
                    _______________________________________________________                                                  20-
                                                                                                       Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.31                                                                                                                 0 ___
                                                                                    Last 4 digits of account number ___ 5 ___
                                                                                                                           8 ___
                                                                                                                              6
       TEK Collect
       _____________________________________________________________                                                                                         360.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO 1269
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Columbus                       OH      43216
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
       
       X      Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Collection re Child and Adult Medicine
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



4.32
                                                                                                                     6 ___
                                                                                    Last 4 digits of account number ___ 5 ___ ___                            4,201.00
                                                                                                                                                            $____________
       US Dept of Education
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       2505 S Finley Rd
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Lombard                        IL      60148.00
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
       
       X      Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                    
                                                                                    X   Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
       
       X      No
             Yes


4.33                                                                                                                                                         1,100.00
                                                                                                                                                            $____________
                                                                                                                     8 ___
                                                                                    Last 4 digits of account number ___ 8 ___
                                                                                                                           7 ___
                                                                                                                              1
       West  Creek Financial Inc
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2020
                                                                                                                         ____________
       PO Box 5515
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Glen Allen                     VA          23058
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       X      Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                 Personal Loan
                                                                                        Other. Specify________________________________
       
       X      No
             Yes



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  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page 12    14
                                                                                                                                                                 __ of ___
Debtor 1       Raymond                              Gasiewicz
               _______________________________________________________                                                   20-
                                                                                                   Case number (if known)_____________________________________
               First Name    Middle Name              Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     National Payment Center
     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO Box 790336
     _____________________________________________________
                                                                             Line 4.32
                                                                                  _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                
                                                                                                          X Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                              6 ___
                                                                             Last 4 digits of account number ___ 5 ___ ___
     St. Louis, Missouri 63179
     _____________________________________________________
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                   Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                             Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                             Claims

     _____________________________________________________                   Last 4 digits of account number ___ ___ ___ ___
     City                                     State               ZIP Code


     _____________________________________________________                   On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                   Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                   Claims

     _____________________________________________________
     City                                     State               ZIP Code
                                                                             Last 4 digits of account number ___ ___ ___ ___

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  Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                              page 13    14
                                                                                                                                                           __ of ___
Debtor 1       Raymond                              Gasiewicz
               _______________________________________________________                                            20-
                                                                                            Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             4,201.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        47,068.86


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         51,269.86
                                                                                        $_________________________




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  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page 14    14
                                                                                                                                                  __ of ___
                                      Attachment
                          Debtor: Raymond Gasiewicz Case No: 20-


Attachment 1
     MIchigan




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 Fill in this information to identify your case:

 Debtor               Raymond Gasiewicz
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Dana  Gasiewicz
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Eastern District of Michigan
 United States Bankruptcy Court for the:______________________________________

 Case number           20-
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

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Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
 Fill in this information to identify your case:

 Debtor 1         Raymond    Gasiewicz
                  __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             Dana Gasiewicz
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Eastern District of Michigan
 United States Bankruptcy Court for the:_______________________________________

 Case number          20-
                      ____________________________________________
  (If known)
                                                                                                                                               Check if this is an
                                                                                                                                                 amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X    No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt

                                                                                                            Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                     ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                     ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City    20-30417-jda                 Doc 1            Filed
                                                                 State 02/19/20             Entered
                                                                                              ZIP Code 02/19/20 16:43:59       Page 41 of 70
Official Form 106H                                                           Schedule H: Your Codebtors                                                       1
                                                                                                                                                   page 1 of ___
 Fill in this information to identify your case:


 Debtor 1           Raymond    Gasiewicz
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2           Dana  Gasiewicz
                    ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                                Eastern District of Michigan
 United States Bankruptcy Court for the: ___________________________________________

 Case number         20-
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                   
                                                                                                                    X Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Equipment  Operator
                                                                      __________________________________          Paraprofessional
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            San Marino Excavating
                                                                     __________________________________           Durand Area Schools
                                                                                                                  __________________________________


                                          Employer’s address        5550 Mitchell Way
                                                                   ________________________________________      310 N Saginaw St
                                                                                                                ________________________________________
                                                                     Number Street                                Number   Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Howell, MI
                                                                   ________________________________________      Durand, MI 48429
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         7_______
                                                                             months                                4_______
                                                                                                                     months

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.     5,503.33                 433.33
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                0.00              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     5,503.33
                                                                                              $__________               433.33
                                                                                                                       $____________



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Official Form 106I                                             Schedule I: Your Income                                                           page 1
Debtor 1          Raymond Gasiewicz
                  _______________________________________________________                                                                         20-
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.      5,503.33
                                                                                                                            $___________            433.33
                                                                                                                                                   $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.      975.00
                                                                                                                           $____________            49.83
                                                                                                                                                   $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________            36.83
                                                                                                                                                   $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________            23.92
                                                                                                                                                   $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

      5h. Other deductions. Specify: Garnishment  and fee
                                     __________________________________                                            5h.    + $____________
                                                                                                                             8.67               + $_____________
                                                                                                                                                   34.97
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.      983.67
                                                                                                                           $____________            145.55
                                                                                                                                                   $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.      4,519.66
                                                                                                                           $____________            287.78
                                                                                                                                                   $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                               0                       0.00
                                                                                                                           $____________           $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                           0.00                    0.00
                                                                                                                           $____________           $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8e. Social Security                                                                                          8e.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                            0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________
                                         n/a
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             0.00                + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.      0.00
                                                                                                                           $____________            0.00
                                                                                                                                                   $_____________

 10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                            4,519.66
                                                                                                                           $___________     +       287.78
                                                                                                                                                   $_____________           4,807.44
                                                                                                                                                                         = $_____________
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              n/a
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      4,807.44
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X     No.
           Yes. Explain:

                20-30417-jda                      Doc 1           Filed 02/19/20                    Entered 02/19/20 16:43:59                        Page 43 of 70
  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
 Fill in this information to identify your case:

 Debtor 1          Raymond Gasiewicz
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Dana  Gasiewicz
                     ________________________________________________________________
                                                                                                       An amended filing
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       A supplement showing post-petition chapter 13
                                               Eastern District of Michigan
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         20-
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                  Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                         age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    son                                         7________          No
                                                                                    _________________________
    names.                                                                                                                                     
                                                                                                                                               X    Yes

                                                                                    son
                                                                                    _________________________                   18
                                                                                                                                ________           No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    Son
                                                                                    _________________________                   16
                                                                                                                                ________           No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    Daughter
                                                                                    _________________________                   19
                                                                                                                                ________           No
                                                                                                                                               
                                                                                                                                               X    Yes

                                                                                    _________________________                   ________           No
                                                                                                                                                   Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                            Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                    1,305.00
                                                                                                                                   $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.       0.00
                                                                                                                                   $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.       0.00
                                                                                                                                   $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.       50.00
                                                                                                                                   $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.       0.00
                                                                                                                                   $_____________________

             20-30417-jda
 Official Form 106J                     Doc 1          Filed Schedule
                                                             02/19/20       Entered
                                                                      J: Your Expenses 02/19/20 16:43:59                         Page 44 of 70       page 1
Debtor 1         Raymond    Gasiewicz
                 _______________________________________________________                                       20-
                                                                                         Case number (if known)_____________________________________
                 First Name    Middle Name           Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                   6a.      200.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                 6b.      200.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                   6c.      228.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                  6d.      0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                           7.       1,200.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                 8.       0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                      9.       250.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                    10.      100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                            11.      200.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      400.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                           12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.      200.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                       14.      0.00
                                                                                                                     $_____________________
                                                                                                                                                  16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                    15a.     0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                  15b.     0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                 15c.     300.00
                                                                                                                     $_____________________
                                    care credit for pets
      15d. Other insurance. Specify:_______________________________________                                  15d.     50.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                      16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                        17a.     0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                        17b.     0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                    17c.    $_____________________

      17d. Other. Specify:_______________________________________________                                    17d.    $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.     0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                         19.     0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                       20a.     0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                 20b.     0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                      20c.     0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                          20d.     0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                       20e.     0.00
                                                                                                                     $_____________________


              20-30417-jda
  Official Form 106J                         Doc 1     Filed Schedule
                                                             02/19/20       Entered
                                                                      J: Your Expenses 02/19/20 16:43:59            Page 45 of 70        page 2
Debtor 1         Raymond    Gasiewicz
                 _______________________________________________________                      Case number (if known)20-
                                                                                                                    _____________________________________
                 First Name    Middle Name           Last Name




21.    Other. Specify: dogs
                       _________________________________________________                                          21.     100.00
                                                                                                                        +$_____________________

22.    Calculate your monthly expenses.                                                                                   4,783.00
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.     4,783.00
                                                                                                                         $_____________________



23. Calculate your monthly net income.

      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.
                                                                                                                           4,807.44
                                                                                                                          $_____________________

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           4,783.00

      23c.   Subtract your monthly expenses from your monthly income.
             The result is your monthly net income.                                                              23c.
                                                                                                                           24.44
                                                                                                                          $_____________________




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X   No.
         Yes.      Explain here:




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  Official Form 106J                         Doc 1     Filed Schedule
                                                             02/19/20       Entered
                                                                      J: Your Expenses 02/19/20 16:43:59                Page 46 of 70         page 3
Fill in this information to identify your case:

Debtor 1          Raymond Gasiewicz
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Dana Gasiewicz
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Eastern District of Michigan
                                        _______________________________________
Case number         20-
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    /s/ Raymond Gasiewicz
          ______________________________________________             
                                                                      _____________________________
                                                                      /s/ Dana Gasiewicz
         Signature of Debtor 1                                             Signature of Debtor 2


         Date 02/19/2020
              _________________                                            Date 02/19/2020
                                                                                _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 20-30417-jda
                106Dec                        Doc 1          Filed 02/19/20
                                                                Declaration        Entered
                                                                            About an Individual02/19/20    16:43:59
                                                                                               Debtor’s Schedules                   Page 47 of 70 page 1
          Account Adjustment Bureau                       ARS Account Resolution                        ARS National Services, Inc
          217 Ann Arbor Rd Ste 212                        1643 Harrison Parkway                         PO 463023
          Plymouth, MI 48170                              Suite 100                                     Escondido, CA 92046-0765
                                                          Sunrise, FL 33323
Dothins                                                                                       Dothins




                                                Dothins




          Attorney General                                Binson's Home Health Care Centers             Bright Lending
          U.S. Department of Justice                      26834 Lawrence                                PO 578
          950 Pennsylvania Ave, NW                        Center Line, MI 48015                         Hayes, MD 59527
          Washington, DC 20530-0001
                                                Dothins                                       Dothins




Dothins




          Care Payment                                    CNAC MI 112                                   Consumers Energy
          PO Box 2398                                     5050 S Saginaw Rd                             PO 740309
Dothins
          Omaha, NE 68103                       Dothins
                                                          Flint, MI 48507                     Dothins
                                                                                                        Cincinnati, OH 45274




          Credit Collection Services                      Dort Federal CU                               Dort Federal CU
          PO Box 710                                      2845 Davison Road                             2845 Davison Road
Dothins
          Norwood, MA 02062                     Dothins
                                                          Flint, CO 48506                     Dothins
                                                                                                        Flint, MI 48506




          Elga Credit Union                               First Federal Credit Control                  Frontier Communications
          610 S. Dort Union                               2470 Chagrin Blvd Ste 205                     1500 MacCorkle Ave SE
Dothins
          Flint, MI 48503                       Dothins
                                                          Beachwood, OH 44122-5630            Dothins
                                                                                                        Charleston, WV 25396-0001




          Great Lakes Bay Health Centers                  Harley Davidson Financial                     Hurley Meidcal Center
          501 Lapeer                                      222 W aDams                                   1 Hurley Plaza
          Saginaw, MIchigan 48607                         Suite 2000                                    Flint, MI 48503
                                                          Chicago, IL 60606
Dothins                                                                                       Dothins




                                                Dothins




          Internal Revenue Service                        Jefferson Capital Systems LLC                 Keystone Law LLC
          Centralized Insolvency Operations               16 McLeland Rd                                2006 Swede Rd.
          PO 7346                                         St Cloud, MN 56303                            Suite 100
          Philadelphia, PA 19101                                                                        E Norriton, PA 19401
                                                Dothins




Dothins                                                                                       Dothins




          Merchants & Medical                             National Payment Center                       Online Information Services
          6324 Taylor                                     PO Box 790336                                 685 W. Fire Tower Rd
Dothins
          Flint, MI 48507                       Dothins
                                                          St. Louis, MO 63179                 Dothins
                                                                                                        Winterville, NC 28590




          Personify Financial                             Pineknob Urgent Care                          Premier Medical Clinics
          PO Box 500650                                   5065 Miller Rd Ste 3                          PO Box 320070
Dothins
          San Diego, CA 92150                   Dothins
                                                          Flint, MI 48507                     Dothins
                                                                                                        Flint, MI 48532




          Professional Debt Mediation                     RMP                                           Russell Collection Agency
          7948 Baymeadows Way                             8155 Executive Ct Ste 10                      PO 7009
          2nd Floor                                       Lansing, MI 48917                             Flint, MI 48507-0009
          Jacksonville, FL 32207
                                                Dothins                                       Dothins




Dothins




                     20-30417-jda       Doc 1   Filed 02/19/20           Entered 02/19/20 16:43:59             Page 48 of 70
          TEK Collect                                 US Dept of Education                        West Creek Financial Inc
          PO 1269                                     2505 S Finley Rd                            PO Box 5515
Dothins
          Columbus, OH 43216                Dothins
                                                      Lombard, IL 60148.00              Dothins
                                                                                                  Glen Allen, VA 23058




                     20-30417-jda   Doc 1   Filed 02/19/20           Entered 02/19/20 16:43:59           Page 49 of 70
 Fill in this information to identify your case:

 Debtor 1          Raymond                                        Gasiewicz
                   __________________________________________________________________
                      First Name              Middle Name              Last Name

 Debtor 2             Dana                                         Gasiewicz
                      ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name              Last Name


 United States Bankruptcy Court for the: Eastern District of Michigan
                                         ____________________________________________

 Case number          20-
                      ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married
       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     X     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     
                                                                                     X Same as Debtor 1                                      Same as Debtor 1

               4101  S Sheridan Rd Lot 450
               __________________________________________       From     ________       ___________________________________________           From ________
               Number              Street                                               Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               Lennon MI 48849
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     
                                                                                     X Same as Debtor 1                                      Same as Debtor 1

               20 Chestnut Cir E
               __________________________________________       From     ________       ___________________________________________           From ________
               Number              Street                                               Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               Davison  MI 48423
               __________________________________________                               ___________________________________________
               City                         State ZIP Code                              City                     State   ZIP Code
               See Attachment 1                                                         See Attachment 2
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
                 20-30417-jda               Doc 1       Filed 02/19/20             Entered 02/19/20 16:43:59            Page 50 of 70
Debtor 1        Raymond Gasiewicz
                _______________________________________________________                                   Case number (if known)20-
                                                                                                                                _____________________________________
                First Name      Middle Name           Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                            Debtor 1                                               Debtor 2

                                                            Sources of income             Gross income             Sources of income           Gross income
                                                            Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                          exclusions)                                          exclusions)


            From January 1 of current year until
                                                             
                                                             X    Wages, commissions,                              
                                                                                                                   X   Wages, commissions,
                                                                  bonuses, tips            6,000.00
                                                                                          $________________            bonuses, tips            646.00
                                                                                                                                               $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                Operating a business


            For last calendar year:                          
                                                             X    Wages, commissions,                              
                                                                                                                   X   Wages, commissions,
                                                                  bonuses, tips            53,927.00
                                                                                          $________________            bonuses, tips            8,283.00
                                                                                                                                               $________________
            (January 1 to December 31, 2019
                                       _________)                Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                             
                                                             X    Wages, commissions,                                 Wages, commissions,
                                                                  bonuses, tips                                        bonuses, tips
                                                                                           49,359.00
                                                                                          $________________                                     3,110.00
                                                                                                                                               $________________
            (January 1 to December 31, 2018
                                       _________)                Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     X     No
          Yes. Fill in the details.
                                                             Debtor 1                                               Debtor 2

                                                             Sources of income            Gross income from         Sources of income          Gross income from
                                                             Describe below.              each source               Describe below.            each source
                                                                                          (before deductions and                               (before deductions and
                                                                                          exclusions)                                          exclusions)


                                                           __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:             __________________            $_________________ _____________________ $_________________
                                                           __________________            $_________________ _____________________ $_________________


            For last calendar year:                        __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                               YYYY
                                                           __________________            $_________________ _____________________ $_________________



            For the calendar year before that:             __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                               YYYY
                                                           __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
                20-30417-jda                  Doc 1      Filed 02/19/20              Entered 02/19/20 16:43:59                        Page 51 of 70
Debtor 1       Raymond   Gasiewicz
               _______________________________________________________                                                   20-
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6, 825* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

 
  X        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

               
               X    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



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Debtor 1           Raymond   Gasiewicz
                   _______________________________________________________                                                   20-
                                                                                                       Case number (if known)_____________________________________
                   First Name      Middle Name            Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X     No
          Yes. List all payments to an insider.
                                                                         Dates of      Total amount      Amount you still   Reason for this payment
                                                                         payment       paid              owe


            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code



            ____________________________________________                              $____________ $____________
                                                                       _________
            Insider’s Name

            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X     No
          Yes. List all payments that benefited an insider.
                                                                        Dates of        Total amount     Amount you still   Reason for this payment
                                                                        payment         paid             owe
                                                                                                                            Include creditor’s name

            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




            ____________________________________________               _________      $____________ $____________
            Insider’s Name


            ____________________________________________               _________
            Number        Street


            ____________________________________________               _________

            ____________________________________________
            City                                  State   ZIP Code




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Debtor 1        Raymond   Gasiewicz
                _______________________________________________________                                         Case number (if known)20-
                                                                                                                                      _____________________________________
                First Name            Middle Name             Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X     Yes. Fill in the details.
                                                                     Nature of the case                   Court or agency                                 Status of the case

                                                                   Collection
                                                                                                         67th District Court
                                                                                                         ________________________________________        
                      Timber Heights vs
            Case title_____________________________                                                      Court Name
                                                                                                                                                             Pending

                                                                                                                                                            On appeal
            Raymond/Dana    Gasiewicz
            ____________________________________                                                         200 E Flint Street Ste 3
                                                                                                         ________________________________________
                                                                                                         Number    Street                                
                                                                                                                                                         X   Concluded

            Case number C15B2930
                        ________________________                                                         Davison  MI 48423
                                                                                                         ________________________________________
                                                                                                         City                   State   ZIP Code

                                                                   Collection
                                                                                                         66th District Court
                                                                                                         ________________________________________           Pending
                      Swartz Creek Meadows vs
            Case title_____________________________                                                      Court Name
                                                                                                                                                            On appeal
            Raymond/Dana    Gasiewicz
            ____________________________________                                                         110 E Mack St
                                                                                                         ________________________________________
                                                                                                         Number    Street                                
                                                                                                                                                         X   Concluded

            Case number 17-1238GC
                        ________________________                                                         Corunna   MI 48817
                                                                                                         ________________________________________
                                                                                                         City                   State   ZIP Code
                                                                                                                                           See Attachment 3
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     
     X     Yes. Fill in the information below.

                                                                                Describe the property                                    Date          Value of the property

                                                                             Money
                 Swartz Creek Meadows
                 _________________________________________                                                                               11/01/2019
                                                                                                                                         __________      1,597.10
                                                                                                                                                        $______________
                 Creditor’s Name


                 C/O  Shek, Peter S
                 _________________________________________
                 Number      Street                                             Explain what happened

                                                                                   Property was repossessed.
                 803 N Michigan Ave
                 _________________________________________
                                                                                   Property was foreclosed.
                                                                                
                                                                                X   Property was garnished.
                 Saginaw   MI 48602
                 _________________________________________
                 City                                State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                    Date           Value of the property



                                                                                                                                        __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                                Explain what happened

                 _________________________________________                         Property was repossessed.
                                                                                   Property was foreclosed.
                 _________________________________________                         Property was garnished.
                 City                                State   ZIP Code
                                                                                   Property was attached, seized, or levied.



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Debtor 1          Raymond   Gasiewicz
                  _______________________________________________________                                                      20-
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1           Raymond   Gasiewicz
                   _______________________________________________________                                        Case number (if known)20-
                                                                                                                                        _____________________________________
                   First Name     Middle Name                 Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                      Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                      contributed



           _____________________________________                                                                                           _________           $_____________
           Charity’s Name


           _____________________________________                                                                                           _________           $_____________


           _____________________________________



           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X     No
          Yes. Fill in the details.

            Describe the property you lost and how                    Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                                  lost
                                                                      Include the amount that insurance has paid. List pending insurance
                                                                      claims on line 33 of Schedule A/B: Property.


                                                                                                                                           _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X     Yes. Fill in the details.

                                                                      Description and value of any property transferred                    Date payment or     Amount of payment
            Van Epps & Van Epps                                                                                                            transfer was made
            ___________________________________
            Person Who Was Paid

            318 N Water
            ___________________________________
            Number       Street
                                                                                                                                           02/12/20
                                                                                                                                           _________            200.00
                                                                                                                                                               $_____________

            ___________________________________
                                                                                                                                           _________           $_____________
            Owosso   MI 48867
            ___________________________________
            City                         State     ZIP Code

            mvanepps@vaneppslaw.com
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1           Raymond Gasiewicz
                   _______________________________________________________                                     Case number (if known)20-
                                                                                                                                     _____________________________________
                   First Name      Middle Name               Last Name




                                                                     Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                      transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                      _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                      _________             $_____________
            ____________________________________

            ____________________________________
            City                        State     ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

          No
     
     X     Yes. Fill in the details.

                                                                     Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                      transfer was made
            accessbk.org
            ____________________________________
            Person Who Was Paid
                                                                                                                                      02/12/19
                                                                                                                                      _________              8.96
                                                                                                                                                            $____________
            web
            ____________________________________
            Number        Street

            WEB
            ____________________________________                                                                                      _________             $____________

            WEB WEB WEB
            ____________________________________
            City                        State     ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X     No
          Yes. Fill in the details.

                                                                     Description and value of property         Describe any property or payments received      Date transfer
                                                                     transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                                _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State     ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                               _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State     ZIP Code

            Person’s relationship to you _____________

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Raymond   Gasiewicz
                   _______________________________________________________                                                          20-
                                                                                                              Case number (if known)_____________________________________
                   First Name     Middle Name               Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of the property transferred                                       Date transfer
                                                                                                                                                            was made


                                                                                                                                                            _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     X     No
          Yes. Fill in the details.

                                                                    Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                         instrument               closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred
            ____________________________________
            Name of Financial Institution
                                                                        XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                          Savings
            ____________________________________                                                          Money market
            ____________________________________
                                                                                                          Brokerage
            City                       State     ZIP Code                                                 Other__________

            ____________________________________                        XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                          Savings
            ____________________________________
            Number       Street                                                                           Money market
            ____________________________________                                                          Brokerage
            ____________________________________                                                          Other__________
            City                       State     ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     X     No
          Yes. Fill in the details.
                                                                        Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                
                                                                                                                                                                X   No
            ____________________________________
            Name of Financial Institution
                                                                   _______________________________________
                                                                   Name
                                                                                                                                                                   Yes

            ____________________________________                   _______________________________________                                                      
            Number       Street                                    Number      Street
            ____________________________________
                                                                   _______________________________________
                                                                   City          State      ZIP Code
            ____________________________________
            City                       State     ZIP Code



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Debtor 1            Raymond   Gasiewicz
                    _______________________________________________________                                              Case number (if known)20-
                                                                                                                                               _____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    X      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________                                                               
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     X   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     X     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Raymond   Gasiewicz
                   _______________________________________________________                                               Case number (if known)20-
                                                                                                                                               _____________________________________
                   First Name      Middle Name               Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     X     No
          Yes. Fill in the details.
                                                                    Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                   _______________________________
            Name of site                                           Governmental unit
                                                                                                                                                                          _________

            ____________________________________                   _______________________________
            Number        Street                                   Number     Street


            ____________________________________                   _______________________________
                                                                   City                  State    ZIP Code
            ____________________________________
            City                        State     ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     X     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                     Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title______________________________
                                                                     ________________________________
                                                                     Court Name
                                                                                                                                                                           Pending
           ______________________________________
                                                                                                                                                                           On appeal
                                                                     ________________________________
                                                                     Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                               ________________________________
                                                                     City                        State   ZIP Code
                                                                                                                                                                          

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     X     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                        State     ZIP Code

                                                                     Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                        Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                     Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                        From     _______ To _______
            ____________________________________
            City                        State     ZIP Code


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                   _______________________________________________________                                     Case number (if known)20-
                                                                                                                                     _____________________________________
                   First Name      Middle Name               Last Name




                                                                                                                             Employer Identification number
                                                                     Describe the nature of the business
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                     Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                             From     _______ To _______
            City                        State     ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X     No
          Yes. Fill in the details below.

                                                                     Date issued



            ____________________________________                     ____________
            Name                                                     MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State     ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      /s/ Raymond Gasiewicz
            ______________________________________________                         /s/_____________________________
                                                                                         Dana Gasiewicz
            Signature of Debtor 1                                                     Signature of Debtor 2


                 02/19/2020
            Date ________________                                                     Date 02/19/2020
                                                                                           _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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                                                Attachment
                                    Debtor: Raymond Gasiewicz Case No: 20-


Attachment 1 Additional Places Lived
     Address: 12091 W Reid Rd, Durand, Michigan 48429
     Address: Debtor 2 resided with Debtor 1 at this address.
     Dates of Occupancy: Debtor 2 resided with Debtor 1 at this address from
     Address: 449 Buchanan Dr, Davison, Michigan 48423
     Address: Debtor 2 resided with Debtor 1 at this address.
     Dates of Occupancy: Debtor 2 resided with Debtor 1 at this address from
     Address: 3800 Groveland Rd, Ortonville, Michigan 48462

Attachment 2 Additional Places Lived (Debtor 2)
     Dates of Occupancy: to
     Dates of Occupancy: to
     Address: 72 Village Ct Apt 2, Ortonville, Michigan 48462
     Dates of Occupancy: to
Attachment 3 Additional Lawsuits, Court Actions, or Administrative Proceedings
     Case Title: Swartz Creek Meadows vs Dana/Raymond Gasiewicz
     Case Number: 17-1238GC
     Nature of Case: Collection
     Court or Agency’s Name: 66th District Court
     Court or Agency’s Address: 110 E Mack St, Corunna, Michigan 48817
     Status of Case: Concluded

     Case Title: Timber Heights vs Dana/Raymond Gasiewicz
     Case Number: C15B2930
     Nature of Case: collection
     Court or Agency’s Name: 67th District Court
     Court or Agency’s Address: 200 E Flint Street St. 3, Davison, Michigan 48423
     Status of Case: Concluded




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                                                 UNITED STATES BANKRUPTCY COURT FOR
                                                    THE EASTERN DISTRICT OF MICHIGAN




In Re: Raymond Gasiewicz and Dana Gasiewicz                                        Case No.          20-
                                                                                   Chapter           7
                          Debtor(s).                                               Hon.
______________________________________/

                                                STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                      PURSUANT TO F.R. BANKR.P. 2016(b)

The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:

  1.     The undersigned is the attorney for the Debtor(s) in this case.
  2.     The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
         [X]       FLAT FEE
         A.        For legal services rendered in contemplation of and in connection with this case, exclusive of the filing fee
                   paid…………………………………………………………………….…..……$1,665.00
         B.        Prior to filing this statement, received…………………………………….……$200.00
         C.        The unpaid balance due and payable is………………………….……………. $1,465.00
         [X]       RETAINER
         A.        Amount of retainer received………………………………….…………………$1,465.00
         B.        The undersigned shall bill against the retainer at an hourly rate of $275.00       [Or attach firm hourly rate schedule.] Debtor(s)
                   have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.
  3.     $ 0.00                of the filing fee has been paid.
  4.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
         that do not apply.]
         A.        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                     bankruptcy;
         B.        Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         C.        Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         D.        Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         E.        Reaffirmations;
         F.        Redemptions;
         G.        Other: See Attachment 1
  5.     By agreement with the debtor(s), the above-disclosed fee does not include the following services: See Attachment          2
  6.     The source of payments to the undersigned was from:
         A.        [X ]        Debtor(s)’ earnings, wages, compensation for services performed
         B.        [ ]         Other (describe, including the identity of payor)
  7.     The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
         corporation, any compensation paid or to be paid except as follows:

  Dated: February 19, 2020                                             /s/ Mark Van Epps
                                                                       Attorney for the Debtor(s)

  Agreed: /s/ Raymond Gasiewicz                                        /s/ Dana Gasiewicz

         Debtor                                                        Debtor
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                                                  Attachment
                                      Debtor: Raymond Gasiewicz Case No: 20-


Attachment 1
     In a chapter 7, debtor and attorney entered into two separate fee agreements. The first was for the amount received above, signed pre-petition,
     for the preparation and filing of the bankruptcy petition, the payment of court filing fees unless a petition to pay fling fees in installments was
     filed], and review, analysis and advisement of the typical matters that are required to be preformed pre-petition by a bankruptcy attorney under
     the applicable bankruptcy and ethical rules. Any chapter 7 attorney fees that were unpaid and owing at the time of filing are waived by counsel.
     The second fee agreement is for the amount owed above {which does not include the court filing fees], to be signed post-petition for the
     completion of the balance of schedule, representation at the 341 meeting of creditors, and other legal services outlined in the fee agreement.
Attachment 2
     Limitations are lien matters, redemption agreements, garnishment recoveries, depositions (2004 examinations), and adversary proceedings
     pursuant to the post-petition fee agreement signed by the debtor. Also, per the post-petition fee agreement - monies collected, if any, from
     garnished fund recoveries might be used to offset other fees owed to Van Epps & Van Epps.

     Also for chapter 7 cases only: debtor has paid a fee, noted above, for all pre-petition services. At the time of the filing of this case, there were no
     additional pre-petition attorney fees owing. The remaining unpaid balance, noted above, is for post petition fees only, and subject to the chapter
     7 post-petition fee agreement.




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Fill in this information to identify your case:

Debtor 1           Raymond Gasiewicz
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            Dana Gasiewicz
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        Eastern District Of Michigan
United States Bankruptcy Court for the: _______________________________________

Case number         20-
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
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  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
Your name      Raymond Gasiewicz
               ______________________________________________________                                                     20-
                                                                                                    Case number (If known)_____________________________________
               First Name           Middle Name           Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                       Will the lease be assumed?

     Lessor’s name:                                                                                                         No
                                                                                                                             Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                         No
                                                                                                                             Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                         No
     Description of leased                                                                                                   Yes
     property:


     Lessor’s name:                                                                                                         No
                                                                                                                             Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                         No
                                                                                                                             Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                        No
                                                                                                                            Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                        No
                                                                                                                            Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 /s/ Raymond Gasiewicz
      ___________________________________________                     /s/ Dana Gasiewicz
                                                                        ___________________________________________
     Signature of Debtor 1                                               Signature of Debtor 2

          02/19/2020
     Date _________________                                              Date 02/19/2020
                                                                              _________________
            MM /    DD   /   YYYY                                             MM /   DD /   YYYY



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 Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                          page 2
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1

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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2

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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3

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                                                                A married couple may file a bankruptcy case
                                                                together—called a joint case. If you file a joint
    Warning: File Your Forms on Time
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
    s.html#procedure.
                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from:
                                                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
Make sure the court has your                                    In Alabama and North Carolina, go to:
mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4

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